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                                                                      Central District of California
 6                                                                    BY Cetulio DEPUTY CLERK


 7                               UNITED STATES BANKRUPTCY COURT
 8                                CENTRAL DISTRICT OF CALIFORNIA
                                   SAN FERNANDO VALLEY DIVISION
 9

10     In re:                                 )     Case No.: 1:22-bk-10545-VK
                                              )
11     GUARACHI WINE PARTNERS INC., )               Chapter 11 Case
12     a California corporation,              )
                                              ))    Subchapter V
13               Debtor and Debtor in Possession.
                                              )
                                              )
14                                            )     ORDER:
                                              )     (1) APPROVING SALE OF CERTAIN ESTATE
15                                            )     ASSETS FREE AND CLEAR OF ALL LIENS,
                                              )     CLAIMS, ENCUMBRANCES AND INTERESTS;
16                                                  (2) APPROVING THE STIPULATION
                                              )
17                                            )     PROVIDING FOR PAYMENT IN FULL OF
                                                    OUTSTANDING SECURED DEBT OWING TO
18                                                  CITY NATIONAL BANK, N.A.;
                                                    (3) WAIVING THE 14-DAY STAY PERIOD OF
19                                                  BANKRUPTCY RULE 6004(h); AND
                                                    (4) GRANTING RELATED RELIEF
20

21                                                  Hearing:
                                                     Date: October 13, 2022
22                                                   Time: 2:00 p.m.
                                                     Place: Courtroom 301
23                                                           21041 Burbank Boulevard
                                                             Woodland Hills, CA 91367
24
                                                             VIA ZOOMGOV
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 1                  On October 13, 2022, at 2:00 p.m., the Court held a hearing (the “Sale Hearing”) to

 2    consider approval of the motion (the “Sale Motion”) filed by Guarachi Wine Partners Inc., the Chapter

 3    11 debtor and debtor in possession herein (the “Debtor”), for the entry of an order (the “Sale Order”):

 4                  (1)   pursuant to 11 U.S.C. §§ 363(b) and (f), approving the sale of the Debtor’s

 5        remaining wine inventory (the “Inventory”) and remaining wine brands and related intellectual

 6        property (the “Brands” and, together with the Inventory, the “Assets”), as described in the

 7        Motion, free and clear of any and all liens, claims, encumbrances and interests (collectively,

 8        “Encumbrances”), to Titan Wine & Spirits, LLC (“Titan”) for a purchase price of $430,080.00

 9        (the “Purchase Price”);

10                  (2)   pursuant to 11 U.S.C. § 363(m), finding that Titan is a “good faith” purchaser

11        entitled to the protections afforded under 11 U.S.C. § 363(m);

12                  (3)   pursuant to the motion [Dkt. 125] to approve bid procedures, which was granted

13        pursuant to an order of the Court entered on August 22, 2022 (the “Bid Procedures Order”) [Dkt.

14        137], authorizing Sherwood Partners, Inc. (“Sherwood”), the Debtor’s Court approved sales

15        agent, to execute and deliver a Bill of Sale of the Assets to Titan;

16                  (4)   authorizing the Debtor to execute such other documents and to take such actions

17        necessary to complete the sale and transfer of the Assets to Titan;

18                  (5)    approving the Stipulation Providing For Payment In Full Of Outstanding Secured

19        Debt Owing To City National Bank, N.A. (the “CNB Stipulation”) between the Debtor and City

20        National Bank, N.A. (“CNB”), the Debtor’s senior secured creditor, which provides for the

21        payment of CNB’s outstanding secured indebtedness in full;

22                  (6)   pursuant to the application (the “Sherwood Employment Application”) [Dkt. 123]

23        to employ Sherwood as the Debtor’s sales agent, which was approved pursuant to an order of the

24        Court entered on August 22, 2022 (the “Sherwood Employment Order”) [Dkt. 136], authorizing

25        and directing the Debtor to pay Sherwood a Success Fee (as defined in the Sherwood

26        Employment Application) in the amount of $38,707.20 (i.e., 9% of the Purchase Price of

27        $430,080.00 as specified in the Sherwood Employment Application and Sherwood Employment

28        Order);

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 1                (7)     waiving the 14-day stay period set forth in Rule 6004(h) of the Federal Rules of

 2        Bankruptcy Procedure to enable the sale of the Assets to close as quickly as possible; and

 3                (8)     providing such other relief as is appropriate under the circumstances.

 4        Appearances were made at the hearing on the Sale Motion as set forth on the record of the Court.

 5        The Court, having considered the Sale Motion and the other supportive pleadings and

 6        declarations filed by the Debtor in support of the Sale Motion and the statements, arguments and

 7        representations of the parties made at the Sale Hearing; and the entire record of this chapter 11

 8        case; and the Court, having determined that the relief sought in the Sale Motion is in the best

 9        interests of the Debtor and its estate, and that the legal and factual bases set forth in the Sale Motion

10        and presented at the Sale Hearing establish just cause for the relief granted herein; no objection

11        having been filed to the Sale Motion, and good cause appearing therefor,

12
                  THE COURT HEREBY FINDS AND CONCLUDES THAT:
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                  A.      Findings and Conclusions. The findings and conclusions set forth herein constitute
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          the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made
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          applicable to this proceeding pursuant to Bankruptcy Rule 9014.
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                  B.      Jurisdiction and Venue.      The Bankruptcy Court has jurisdiction to hear and
17
          determine the Sale Motion pursuant to 28 U.S.C. §§ 157 and 1334. This matter relates to the
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          administration of the Debtor’s bankruptcy estate and is accordingly a core proceeding pursuant to
19
          28 U.S.C. § 157(b) (2) (A), (M), (N) and (O). Venue of this case is proper in this District and in
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          the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.
21
                  C.      Notice. The Debtor has provided good and sufficient notice with respect to the
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          Sale Motion and the relief sought therein. No further notice of the Sale Motion, the relief
23
          requested therein or the Sale Hearing is required.
24
                  D.      Compliance with the Bid Procedures Order. The sale process and Auction were
25
          conducted in accordance with and otherwise in compliance with the Bid Procedures Order and
26
          were fair, proper and reasonably calculated to result in the best value received for the Assets. The
27
          Auction process afforded a full, fair and reasonable opportunity for any party to become a
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 1        qualified bidder and to participate in the Auction. As demonstrated on the record at the Sale

 2        Hearing, the Debtor (through Sherwood) conducted the Auction process in good faith, without

 3        collusion and in accordance with the Bid Procedures Order.

 4               E.      Highest and Best Bid. The Purchase Price submitted by Titan constitutes the

 5        highest or otherwise best offer for the Assets, and will provide a greater recovery for the Debtor’s

 6        estate than would be provided by any other available alternative. The Debtor’s determination

 7        (through Sherwood) that the Purchase Price submitted by Titan constitutes a reasonable, valid and

 8        sound exercise of the Debtor’s business judgment, and is in the best interests of the Debtor and its

 9        estate. The Purchase Price to be paid by Titan for the Assets is fair and reasonable, is the highest

10        or otherwise best offer therefor, and constitutes reasonably equivalent value and fair consideration

11        under the Bankruptcy Code, the Uniform Fraudulent Conveyance Act, the Uniform Fraudulent

12        Transfer Act, and the laws of the United States.

13               F.      Arm’s Length Transaction. The sale of the Assets to Titan and Purchase Price

14        submitted by Titan was done without collusion and in good faith. Titan did not engage in any

15        conduct that would cause or permit the Debtor’s sale of the Assets to Titan to be avoided under

16        section 363(n) of the Bankruptcy Code. The Purchase Price to be paid by Titan for the Assets is

17        fair and reasonable, and is not avoidable and shall not be avoided, and no damages may be

18        assessed against Titan or any other party, as set forth in section 363(n) of the Bankruptcy Code.

19               G.      Good Faith Purchaser. Titan has proceeded in good faith and without collusion in

20        all respects in connection with the Auction sale process, and Titan is therefore entitled to all of

21        the benefits and protections provided to a good-faith purchaser under section 363(m) of the

22        Bankruptcy Code. Accordingly, the reversal or modification on appeal of the authorization

23        provided herein for Titan to consummate its purchase of the Assets shall not affect the validity of

24        the Debtor’s sale of the Assets to Titan or Titan’s status as a “good faith” purchaser.

25               H.      No Successor Liability. Titan is not a successor to the Debtor or its bankruptcy

26        estate nor shall Titan be deemed to be a mere continuation of the Debtor’s operations by any

27        reason or theory of law or equity, and Titan shall not be subject to successor liability for any

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 1        assets sold or claims that arose or could have been asserted prior to the closing of the Debtor’s

 2        sale of the Assets to Titan (the “Closing”).

 3                I.      Justification for Relief. Good and sufficient reasons for approval of the Debtor’s

 4        sale of the Assets to Titan have been articulated to the Bankruptcy Court in the Sale Motion and

 5        at the Sale Hearing, and the relief requested in the Sale Motion and set forth in this Sale Order is

 6        in the best interests of the Debtor and its estate.

 7                J.      Free and Clear. In accordance with sections 363(b) and 363(f) of the Bankruptcy

 8        Code, the consummation of the Debtor’s sale of the Assets to Titan will be a legal, valid, and

 9        effective transfer and sale of the Assets and will vest in Titan all of the Debtor’s right, title, and

10        interest in and to the Assets, free and clear of all Encumbrances.

11                K.      Prompt Consummation. The Debtor has demonstrated good and sufficient cause

12        to waive the stay requirement under Bankruptcy Rule 6004(h).             Time is of the essence in

13        consummating the Debtor’s sale of the Assets to Titan.

14                L.      Legal and Factual Basis. The legal and factual bases set forth in the Sale Motion

15        and at the Sale Hearing establish just cause for the relief granted herein.

16                M.      Findings and Conclusions. To the extent any of the foregoing findings of fact

17        constitute conclusions of law, they are adopted as such.

18                IT IS HEREBY ORDERED AS FOLLOWS:

19                1.      The Sale Motion is GRANTED as set forth herein. The Debtor’s sale of the

20        Assets to Titan is approved upon the terms and conditions set forth herein.

21                2.      The Debtor is authorized to consummate the sale of the Assets to Titan in

22        accordance with this Sale Order.

23                3.      Titan’s Purchase Price for the Assets is the highest and best offer for the Assets

24        and is hereby approved. As the authorized representative of the Debtor’s estate, Sherwood is

25        authorized and directed to execute a bill of sale in favor of Titan for the Assets.

26                4.      Pursuant to sections 105, 363(b), 363(f) and 363(m) of the Bankruptcy Code, the

27        Assets shall be sold and transferred free and clear of all Encumbrances, with any and all such

28        Encumbrances, including the lien of CNB, to attach to proceeds of the sale with the same validity

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 1        (or invalidity), priority, force and effect such Encumbrances had on the Assets immediately prior

 2        to the Closing and subject to the rights, claims, defenses, and objections, if any, of the Debtor and

 3        all interested parties with respect to any such asserted Encumbrances.

 4                5.      As of the Closing, the Debtor’s sale of the Assets to Titan shall constitute a legal, valid,

 5        enforceable and effective transfer and sale of the Assets to Titan free and clear of all Encumbrances,

 6        and such sale shall be enforceable against and binding upon, and not subject to rejection or avoidance

 7        by, any successor thereto including a trustee or estate representative appointed in this case, and all other

 8        persons and entities.

 9                6.      This Sale Order shall, as of the Closing, be considered and constitute for all purposes a

10        full and complete general assignment, conveyance, and transfer of the Assets to Titan. Consistent with,

11        but not in limitation of the foregoing, each and every federal, state, and local governmental agency or

12        department is hereby authorized and directed to accept all documents and instruments necessary and

13        appropriate to consummate the transactions contemplated by this Sale Order.

14                7.      Titan shall not be deemed, as a result of any action taken in connection with, or as a

15        result of the Debtor’s sale of the Assets to Titan, to: (i) be a successor, continuation or alter ego (or

16        other such similarly situated party) to the Debtor or its estate by reason of any theory of law or equity,

17        including, without limitation, any bulk sales law, doctrine or theory of successor liability, or similar

18        theory or basis of liability; or (ii) have, de facto or otherwise, merged with or into the Debtor; or (iii) be

19        a mere continuation, alter ego, or substantial continuation of the Debtor, and Titan shall have no

20        liability whatsoever for any conduct, action or inaction of the Debtor or with respect to the Assets that

21        arose prior to the Closing.

22                8.      The Debtor’s sale of the Assets to Titan is not subject to avoidance by any person or for

23        any reason whatsoever, including, without limitation, pursuant to section 363(n) of the Bankruptcy

24        Code and Titan shall not be subject to damages, including any costs, fees, or expenses under section

25        363(n) of the Bankruptcy Code.

26                9.      All entities that are presently, or on the Closing may be, in possession of some or all of

27        the Assets to be sold, transferred, or conveyed (wherever located) to Titan pursuant to this Sale Order

28        are hereby directed to surrender possession of the Assets to Titan on the Closing Date.

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 1                10.     Titan shall pay the Purchase Price into the Debtor’s debtor-in-possession bank account.

 2                11.     The terms and provisions of this Sale Order shall continue in full force and effect and

 3        are binding upon any successor to the Debtor, or chapter 7 or chapter 11 trustee applicable to the

 4        Debtor, notwithstanding any such conversion, dismissal or order entry. Nothing contained in any

 5        chapter 11 plan confirmed in this case or in any order confirming such a plan, nor any order dismissing

 6        this case or converting this case to a case under chapter 7 of the Bankruptcy Code, shall conflict with or

 7        derogate from the provisions of this Sale Order.

 8                12.     The Debtor’s sale of the Assets to Titan is being done without collusion and in “good

 9        faith,” as that term is defined in section 363(m) of the Bankruptcy Code. Titan is a good faith

10        purchaser within the meaning of section 363(m) of the Bankruptcy Code and, as such, is entitled to the

11        full protections of section 363(m) of the Bankruptcy Code. Accordingly, the reversal or modification

12        on appeal of the authorization provided herein by this Sale Order shall not affect the validity of the

13        Debtor’s sale of the Assets to Titan.

14                13.     The CNB Stipulation is not approved at this time. The Debtor shall file a revised

15        CNB Stipulation with the Court and provide creditors with notice that they have seven days to file

16        an opposition to the revised CNB Stipulation. If no opposition is timely filed to the revised CNB

17        Stipulation, the Debtor is authorized to file a proposed order with the Court for approval of the

18        revised CNB Stipulation along with a declaration stating that no timely opposition was filed to the

19        revised CNB Stipulation. If a timely objection is filed to the revised CNB Stipulation, the Debtor

20        shall set the matter for a noticed hearing.

21                14.     Notwithstanding Bankruptcy Rule 6004(h) or any other Local Bankruptcy Rule or

22        otherwise, this Sale Order shall not be stayed for 14-days after the entry hereof, but shall be effective

23        and enforceable immediately upon entry pursuant to Bankruptcy Rule 6004(h) so the Debtor is

24        authorized to consummate its sale of the Assets to Titan immediately.

25        ///

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 1                15.     This Court shall retain exclusive jurisdiction to interpret, construe, and enforce the

 2        provisions of this Sale Order in all respects.

 3        IT IS SO ORDERED.

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         Date: October 14, 2022
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